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                                                                October 12, 2020

VIA ECF
Hon. Lorna G. Schofield
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, New York 10007

                Re: United States v. Natalya Grabovskaya
                    16-CR-00755 (LGS)

Dear Judge Schofield:

      This office represents Ms. Grabovskaya in this matter. Ms. Grabovskaya has been fully
compliant with all her conditions of release. Therefore, the parties respectfully request that Ms.
Grabovskaya’s supervision be reduced to web reporting only.

         Please feel free to reach out to me directly should you have any questions.

                                                              Sincerely,

                                                              ___________________________
                                                              Michael J. Zacharias, Esq



 Application Denied without prejudice to renewal. Defendant may refile this application and state whether
 the Government and/or Pretrial Services consents to the application. The Clerk of the Court is directed to
 terminate the motion at docket number 28.

 Dated: October 15, 2020
 New York, New York




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